                 Case: 12-16373, 06/13/2012, ID: 8213978, DktEntry: 1-2, Page 1 of 2

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                             June 13, 2012


       No.:                  12-16373
       D.C. No.:             3:12-mc-80113-JW
       Short Title:          In re: Application for Exemption from Electronic


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
        Case: 12-16373, 06/13/2012, ID: 8213978, DktEntry: 1-2, Page 2 of 2




                   UNITED STATES COURT OF APPEALS
                                                                     FILED
                          FOR THE NINTH CIRCUIT
                                                                     JUN 13 2012
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




In re: APPLICATION FOR                        No. 12-16373
EXEMPTION FROM ELECTRONIC
PUBLIC ACCESS FEES BY JENNIFER
                                              D.C. No. 3:12-mc-80113-JW
GOLLAN AND SHANE SHIFFLETT,
                                              U.S. District Court for Northern
                                              California, San Francisco
JENNIFER GOLLAN; SHANE
SHIFFLETT,                                    TIME SCHEDULE ORDER

             Applicants - Appellants.



The parties shall meet the following time schedule.

Thu., September 20, 2012 Appellant's opening brief and excerpts of record shall
                         be served and filed pursuant to FRAP 32 and 9th Cir.
                         R. 32-1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                               FOR THE COURT:
                                               Molly C. Dwyer
                                               Clerk of Court

                                               Ruben Talavera
                                               Deputy Clerk
